     Case 3:12-cv-00076-TBR Document 1-2 Filed 02/09/12 Page 1 of 6 PageID #: 7



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Commonwealth of Kentucky                                                     ICourt.~.... ......~.J'IRClLII
Court of Justice                                                             I

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AMBER NICHOLS                                                                                            PLAINTIFF
481 i Fister Court
Louisvile, Kentucky 40258

                                                            vs
COLLECTION ASSOCIATES, INC.                                                                          DEFENDANT
1809 North Broadway
Greensburg, Indiana 47240

     SERVE: Kentucky Secreta!)' of         State
                    Statutory Agent for Process
                    Office ofthe Secretary of State
                    Room 86, State Capitol
                    Frankfort, KY 4060 i
                    Via CertUlcd Mail

THE COMMONWEALTH OF KENTUCKY
TO THE ABOVE-NAMED DEFENDANTS'

         You are hereby '1Otified that a legal action has been filed against you in this Coui1 demanding relier
as shO\vn on the document delivered to you with this summons. Unless a written defense is made by you or
by an attorney in you behalf within 20 days following the day this paper is delivered to YOlI, Judgment by
det1wIt may be taken against you for the relief demanded In the attached complaint.

        The name(s) and addrcss( es) of the party or parties demanding such relief against you or his (théir)
attomey(s) are shown on the document delivered to you with this summons. i DC
                                             DA\jIDL N"ICHOlSON
Date: ______.__JAH"'n~Jf__~~_ Clerk :_GiRCUlIC.QLiBIÇLERK
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                                                      BY'                                                     D.C
PROOF OF SERVICÈ

This summons was served by delivering a true copy and the complaint (or other initiating document) to:



This '_'~_''''.___. day of                                              20



                        EXHIBIT~~                     Served By:.
          Case 3:12-cv-00076-TBR Document 1-2 Filed 02/09/12 Page 2 of 6 PageID #: 8




                 NO.                               iaioo212                                                      JEFFERSON CIRCUIT COURT
                                                                                                                           DIVISION

                  AMBER NICHOLS
                  4811 Fister Court
                  Louisvile, Kentucky 40258                                                                                      PLAINTIFF

                  v.                                                     COMPLAINT


                  COLLECTION ASSaCIA TES, INC.
                  1809 N. Broadway
                                                                                                                    JE'r~~~gN CIRCUfT COURT
                  Greensburg, Indiana 47240
                                                                                                                             N TWELVE (12)
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O~ -tf                       Comes the Plaintiff, Amber Nichols, by Counsel, and for her Complaint herein states as

8                 follows:

                             1. Plaintiff            is a resident of   the Commonwealth of               Kentucky, Jefferson County, residing at

                  the address aforesaid.

                             2. Upon information and belief the Defendant, Collection Associates, Inc. (hereinafter

                  "Defendant") is and at all times relevant hereto was a non-resident or foreign corporation or company

                  domiciled within, or having its principal place of                  business in the State of       Indiana.

                             3. At all times relevant hereto the Defendat was transacting business withn the

                  Commonwealth of Kentucky, and had suffcient minimum contacts with this Commonwealth so as to

                  permit Kentucky to acquire personal jurisdiction over the Defendant.



                                                                                        1


                1448 Gardiner Lane, Suites 301-303 · Louisville, KY 40213 · tel: 502.459.7555 fax: 502.451.1698
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                4. The Defendant is a "debt collector" as that term is used and defined under 15 U.S.C.

     Section 1692(a)C6).


                5. The Plaintiff               is a "conswner" as that term is used and defined under 15 U.S.C. Section

     1692 (a)(S).

                6. This Honorable Court has subject matter jurisdiction over this proceeding pursuat to


     15 U.S.c. Section 1692kCd).


                7. In or around October, 2011 Black Diamond Termite and Pest Control ("Black

    Diamond" or the "Creditor") unlawflly sought to charge the Plaintiff for an alleged consumer debt, as

    that term is defined in 15 U.S.C. 1692(a)(5), which the Plaintiff disputed and continues to dispute.

                8. Black Diamond then hired or retained the Defendant, as a third par collector, to

    collect the disputed consumer debt from the Plaintiff

               9. In or around November, 2011 the Defendant initiated collection effort on behalf of               the

    Creditor to collect the alleged consumer debt from the Plaintiff, Such collection efforts included, but

    may not have been limited to, phone calls and contacts with the Plaintiff, including wrtten

    correspondence dated November i 1, 201 I .

                10. Defendant's collections effort and attempts, in one or more instaces, were false,


    misleading, harassing, deceptive, abusive, or otherwise in violation of 15 U.S.C, Section 1692 Cd), (e)

    and (t). Such instaces of generally false, deceptive, unair and harassing conduct include, but may not

    be limited to attempting to collect a consumer debt which is not valid or legally owed or supported at

    law; threatening to report the alleged but disputed consumer debt to a consumer credit reportng

    agency; and/or, communcating with the Plaintiff directly in relation to the disputed debt, despite

    notice that the Plaintiff         wa otherwse represented by legal counsel, among other violations.




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                 11. Together or in the alternative, Defendant violated 15 U.S.C. Section 1692 (t)(1) by

     charging, assessing, or attmpting to collect interest, fees, or charges incidental to the alleged pnncipal

     obligation where were not expressly authorized by any agreement creating the debt or otherwise

     permtted by law.

                 12. As a result of the Defendant's violations of the above identified statutes and/or other

     provisions of           Pub. 1. 90-321, Title VII, Sec. 802, as added/amended by Pub. 1. 95-109, Sept. 20,

     1977, 91 Stat. 874 (hereinafter commonly referred to as the Fair Debt Collection Practices Act or

     "FDCPA" or "Act"), the Plaintiff has suffered actual damages in an amount or amounts to be

     proven at trial and/or is otherwise entitled to recover such damages for each violation of the

     FDCPA.

                13.           Together or in the alternative, pursuant the FDCPA the Plaintiff is entitled to

    recover statutory damages for each violation of the Act.

                14, The Defendant's conduct in whole or in part was wilful, malicious, oppressive,

    fraudulent and/or undertaken with a reckless disregard for the rights of the Plaintiff entitling the

    Plaintiff        to an award of   punitive damages.

                i 5. Pursuant to i 5 USC § i 692k(a)(3) Plaintiff is entitled to recover attorneys fees

    incured as a successful litigant in this action.

                16. For all puroses in this action, including issues related to potential claims of

    diversity jurisdiction should same be asserted by the Defendant in this cause, Plaintiff stipulates

    that the amount in controversy in this litigation, exclusive of interest and costs, does not exceed

    $75,000.00.




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            WHEREFORE, Plaintiff by counsel demands:

            1. Judgment against the Defendant for a fair and reasonable amount, not to exceed

     $75,000.00, suffcient to compensate her for her actual damages above alleged or, in the

     alternative, statutory damages for each violation of the Act as may be proven in evidence, not to

     exceed $75,000.00;

            2. Punitive damages, to the extent the Defendant's conduct should be determined by the


     trier of fact to have been malicious, oppressive, fraudulent, or reckless, which damages together

     with any actual or statutory damages awarded shall not exceed $75,000.00;

            3. Her attorney fees incurred herein;


            4. Trial by jury on all issues so triable;

            5. Her costs herein incurred, and interest on any judgment awarded at the then prevailing

     and applicable judgment rate; and,

            6. Any and all other proper relief to which Plaintiff may appear entitled.

                                                             Respectfully submitted,

                                                             COOPER & FRIEDMAN, PLLC



                                                             'sc1g~;-
                                                             1448 Gardiner Lane
                                                             Suites 301-303
                                                             Louisvile, Kentucky 40213
                                                             502-459-7555
                                                             Counsel for the Plaintif




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                                                                                                                     Commonwealth of Kentucky
                                                                              Alison Lundergan Grimes                                                  FRANKFORT. KY 40602.0718
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                                                                                                       SECRETARY OF STATE                                                       By                   The following is the delivery information for Certified Mail™ item number 7192 2677 0010
                                                                                                                                                                                                     0145 11041\1, records indicate that this item was delivered on 01/25/2012 at 09:44 a.m. in
                                                                                                                                                                                                     ~Bt100, IN, 47240. The scanned image of the recipient information is provided
                                                                              RE:                      CASE NO: 12-CI-00212                                                                          below.
                                                                              DEFENDANT: COLLECTION ASSOCIATES, INC.
                                                                                                                                                                                                     Signature of Recipient:
                                                                              DATE:                   January 30, 2012
                                                                              USPS Certified Mail ID: 71922677001001451104
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                                                                                                                                                                                                     Address of Recipient:
                                                                              The Office of the Secretary of Slale was served wilh a summons and accompanying                                                                           &1/ 3~~
                                                                              documents for the captioned defendant on
                                                                              January 1 B, 2012
                                                                                                                                                                                                     Thank you for selecting the Postal Service for your mailing needs. If you require additional
                                                                                                                                                                                                     assistance, please contact your local post office or Postal Service representative.
                                                                              This office served the defendant by sending a copy of the summons and accompanying
                                                                              documents via certified mail, return receipt requested, on                                                             Sincerely,
                                                                              January 1 B, 2012
                                                                                                                                                                                                     United States Postal Service
                                                                              The US Postal Service has provided a scanned image of the return receipt confirming
                                                                              receipt of summons. The imaç¡e is provided to the riç¡ht of this paç¡e.
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